                            Case 18-10341-KKS               Doc 38       Filed 05/15/19         Page 1 of 1
                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           GAINESVILLE DIVISION
In Re:
                                                                                    Case No. 18-10341-KKS
BRIAN MALCOLM ELSMORE and
MERCEDES ELSMORE,                                                                   Chapter 7
               Debtors.
______________________________/

                ORDER APPROVING THE CHAPTER 7 TRUSTEE’S APPLICATION
                TO RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE
                CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327 (Doc. 35)

         THIS MATTER came before this Court upon the Trustee’s Application to Retain BK Global Real

Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C. § 327 (Doc. 35) (“Application”),

with no hearing necessary, and the Court being otherwise fully advised, it is

         ORDERED:

                       Trustee’s Application to Employ BK Global Real Estate Services is APPROVED; the

              Trustee shall present to the Court a final closing settlement statement which shall include all

              fees and expenses for final approval by this Court.

                                            May 15, 2019
                       DONE and ORDERED on _________________.




                                                                 _________________________________
                                                                 KAREN K. SPECIE
                                                                 Chief U.S. Bankruptcy Judge


         Trustee is directed to serve a copy of this order on interested parties and file a proof of service within three (3) days
of entry of the order.

Copies provided to:
Debtors
Debtors’ Counsel
UST
Parties in Interest

Order prepared by: Theresa M Bender
